Case 2:05-cV-024Ol-.]DB-tmp Document7 Filed 06/23/05 Pagelon Page|

IN THE UNITED STATES DISTRICT COURT

FIl.EL) S`Y __W D.C.
FOR THE WESTERN DISTRlCT OF TENNESSEE

WESTERN DlVlSION 05 JUN 23 AH w 5_'
O’NEAL DANDRIDGE’ eoeer-zt a ot ”:..iol_\o
cte-itc o.s. exist cT.
Plaintiff, W.t.‘)` o\= TN, stitt/1les

V~ No. 05-2401

OKAEI HOOMAN and
JOSE A. BAR_RIGA,

Defendants.

 

ORDER STRIKING THE IUNE 16, 2005 FILING BY 'I`HE PLAINTIFF

 

On June 16, 2005,1;;9_ Y Plaintiff, O’Neal Dandridge, submitted a filing to the Court which
stated “I am opening the complaint of 2005 June - 3 of 05-2401 ‘BP.” However, the Court dismissed
Plaintiff’s complaint on June 8, 2005 after the Plaintiff submitted a notice of Voluntary dismissal
pursuant to Rule 4l(a) of the Federal Rules of Civil Procedure. As this case is no longer pending

before the Court, Plaintiff"s June 16, 2 05 filing is hereby stricken from the record.

  
 

 

IT IS SO ORDERED this f June, 2005.
,B\M
J. ' EL BREEN \

ITE STATES DISTRICT JUDGE

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Ti'.'\s document entered on the docket sh `1‘ com liance
with Hu!e ss and/or 79(3) FRCP condile

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02401 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listcd.

 

O'Neal Dandridge
3120 Alta Road
l\/lemphis7 TN 3 8109

Honorable J. Breen
US DISTRICT COURT

